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                                                     U.S. Department of Justice

                                                     Michael R. Sherwin
                                                     Acting United States Attorney

                                                     District of Columbia


                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                     September 23, 2020
Via Email
Sidney Powell
2911 Turtle Creek Blvd., Suite 300
Dallas, TX 75219
Jesse Binnall
Harvey & Binnall, PLLC
717 King Street
Suite 300
Alexandria, VA 22314
                Re:   United States v. Michael T. Flynn, 17-cr-00232 (EGS)
Dear Counsel:
        As we have previously disclosed, beginning in January 2020, the United States Attorney
for the Eastern District of Missouri has been conducting a review of the Michael T. Flynn
investigation. The enclosed documents were obtained and analyzed by USAO EDMO during the
course of its review. The documents include handwritten notes of former Deputy Assistant
Director Peter Strzok (23501 & 23503) and former Deputy Director Andrew McCabe (23502);
and internal text messages between FBI analysts who worked on the Flynn matter (23504-
23516).
       We are also providing you with additional text messages between former DAD Strzok
and Lisa Page (23516-23540). As you know, some of these messages were originally made
available to Flynn’s former attorneys on March 13, 2018 through a publicly available link to a
Senate webpage. On June 24, 2018, the government provided a link to a second website that
contained additional text messages. In an abundance of caution, we are providing you additional
text messages in this production; please note that purely personal messages have been deleted
from this production.
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        These materials are covered by the Protective Order entered by the Court on February 21,
2018.
                                            Sincerely,

                                            MICHAEL R. SHERWIN
                                            Acting United States Attorney

                                            KENNETH C. KOHL
                                            Acting Principal Assistant United States Attorney

                                     By:           /s/
                                            Jocelyn Ballantine
                                            Assistant United States Attorney
Enclosure
